 Case 5:22-cv-00108-JSM-PRL Document 5 Filed 03/04/22 Page 1 of 6 PageID 84




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA

CHRISEANNA MITCHELL,
And other similarly situated individuals,

      Plaintiff,                             CASE NO.: 5:22-cv-00108-JSM-PRL
vs.
CELEBRITY’S MANAGEMENT COMPANY, LLC,
A Florida Limited Liability Company, and
FREDRICK JACOBS, individually

     Defendants.
___________________________________/
                   DEFENDANTS’ ANSWER AND DEFENSES
                   TO PLAINTIFF’S AMENDED COMPLAINT

      Defendants, Celebrity’s Management Company, LLC (“Celebrity’s”) and

Fredrick Jacobs (“Jacobs”) (collectively, “Defendants”), answer the Amended

Complaint filed by Plaintiff, Chriseanna Mitchell (“Plaintiff”), in correspondingly

numbered paragraphs as follows:

      1.     Admitted for jurisdictional purposes only; otherwise, denied.

      2.     Admitted for jurisdictional purposes only; otherwise, denied.

      3.     Without knowledge; therefore, denied.

      4.     Admitted.

      5.     Admitted that Jacobs was an officer and owner of Celebrity’s while

Plaintiff worked for Celebrity’s; otherwise, denied.

      6.     Denied.
 Case 5:22-cv-00108-JSM-PRL Document 5 Filed 03/04/22 Page 2 of 6 PageID 85




      7.     Admitted only that Jacobs had the authority to hire and fire Plaintiff.

Otherwise, denied.

      8.     Denied.

      9.     Admitted as to Celebrity’s; otherwise, denied.

      10.    Admitted.

      11.    Denied.

      12.    Denied.

      13.    Denied.

      14.    Admitted.

      15.    Denied.

      16.    Denied.

      17.    Denied.

      18.    Denied.

      19.    Denied.

      20.    Denied.

      21.    Without knowledge; therefore, denied.

                               COUNT I
            ALLEGED VIOLATION OF 29 U.S.C. § 206 UNPAID WAGES
                           (Collective Action)

      22.    Defendants reallege and incorporate all responses set forth in

paragraphs 1 through 21 as if fully restated herein. 1


                                          2
 Case 5:22-cv-00108-JSM-PRL Document 5 Filed 03/04/22 Page 3 of 6 PageID 86




       23.    Admitted for jurisdictional purposes only; otherwise, denied.

       24.    Denied.

       25.    Denied.

       26.    Denied.

       27.    Denied.

       28.    Denied.

       In response to the unenumerated WHEREFORE paragraph, and all

subsections a-e, following paragraph 28, Defendant denies the allegations and

further denies plaintiff is entitled to any relief.

                                COUNT II
             ALLEGED VIOLATION OF 29 U.S.C. § 207 OVERTIME
                            COMPENSATION
                           (Collective Action)

       29.    Defendant realleges and incorporates all responses set forth in

paragraphs 1 through 21 as if fully restated herein. 2

       30.    Admitted for jurisdictional purposes only; otherwise, denied.

       31.    Denied.

       32.    Denied.

       33.    Denied.

       34.    Denied.

       35.    Denied

       36.    Denied.
                                             3
 Case 5:22-cv-00108-JSM-PRL Document 5 Filed 03/04/22 Page 4 of 6 PageID 87




       In response to the unenumerated WHEREFORE paragraph, and all

subsections a-c, following paragraph 36, Defendants deny the allegations and further

denies plaintiff is entitled to any relief.

                                 GENERAL DENIAL

       All allegations not expressly admitted are denied.

                                   FIRST DEFENSE

       At all times material to this action and the allegations set forth in the

Complaint, Defendants acted lawfully and in good faith and without any intent to

deny Plaintiff any rights under federal, state, or local law.

                                 SECOND DEFENSE

       If any of the unlawful acts and omissions alleged in the Complaint were

engaged in by Defendants, which Defendants vigorously deny, they did not engage

in such acts or omissions knowingly, intentionally or willfully, and therefore,

Plaintiff's claims for liquidated damages are barred.

                                  THIRD DEFENSE

       One or more counts of Plaintiff’s Complaint fails to state a claim on which

relief can be granted.

                                 FOURTH DEFENSE

       Jacobs is not an employer under the FLSA and therefore cannot be liable in

this action.

                                              4
 Case 5:22-cv-00108-JSM-PRL Document 5 Filed 03/04/22 Page 5 of 6 PageID 88




                                 FIFTH DEFENSE

       Plaintiff is not entitled to compensation for any preliminary or postliminary

activities considered to be non-compensable under applicable law, including but not

limited to the Portal-to-Portal Act.

                                 SIXTH DEFENSE

       To the extent Plaintiff worked hours that would otherwise qualify as overtime

under the FLSA, Plaintiff’s claims are barred to the extent she was exempt from the

overtime requirements of the FLSA.

                               SEVENTH DEFENSE

       Defendants reserve the right to assert additional defenses uncovered during

the litigation.

       Dated this 4th day of March, 2022.

                                       Respectfully submitted,
                                       SPIRE LAW, LLC
                                       2572 W. State Road 426, Suite 2088
                                       Oviedo, Florida 32765


                                       By: /s/ Ashwin R. Trehan
                                           Ashwin R. Trehan, Esq.
                                           Florida Bar No. 42675
                                           ashwin@spirelawfirm.com
                                           sarah@spirelawfirm.com
                                           laura@spirelawfirm.com
                                           filings@spirelawfirm.com



                                         5
 Case 5:22-cv-00108-JSM-PRL Document 5 Filed 03/04/22 Page 6 of 6 PageID 89




                                      Attorneys for Defendants | CELEBRITY’S
                                      MANAGEMENT COMPANY, LLC and
                                      FREDRICK JACOBS

                           CERTIFICATE OF SERVICE

      I hereby Certify that on this 4th day of March 2022, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system which will send a notice

of electronic filing to:    Edwin A. Green III, Esq.; Blanchard, Merriam, Adel,

Kirkland & Green, P.A.; tgreen@bmaklaw.com; lcaldwell@bmaklaw.com; Post

Office Box 1869 Ocala Florida 34478.




                                         6
